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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

UNITED STATES OF AMERICA

 

v. INDICTMENT
BRIAN G. KOLFAGE 3'21er24-MteR
/
THE GRAND JURY CHARGES:
COUNT ONE

On or about July 15, 2020, in the Northern District of Florida, the defendant,
BRIAN G. KOLFAGE,

a resident of Miramar Beach, Florida, did willfully make and subscribe a United
States Individual Income Tax Return, Form 1040, for the tax year 2019, which was
filed with the Internal Revenue Service and contained and was verified by a written
declaration that it was made under the penalties of perjury, and which the
defendant did not believe to be true and correct as to every material matter, in that
the return represented a total income of $63,574, and a total tax of $4,173 for the
tax year 2019 when, in truth and fact and as the defendant then well knew, the total

income and total tax for the tax year 2019 were materially in excess of that

amount.

 
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In violation of Title 26, United States Code, Section 7206(1) and Title 18,
United States Code, Section 2.

COUNT TWO
A. THE CHARGE
Between on or about January 1, 2019, and on or about July 15, 2020, in the
Northern District of Florida, the defendant,
BRIAN G. KOLFAGE,
did knowingly and willfully devise, and intend to devise, a scheme to defraud and
for obtaining money and property by means of material false and fraudulent
pretenses, representations, and promises, and for the purpose of executing such
scheme, did cause a wire communication to be transmitted in interstate commerce.
B. SCHEME TO DEFRAUD

It was part of the scheme to defraud that:

1. During the tax year 2019, BRIAN G. KOLFAGE received hundreds
of thousands of dollars from WEBUILDTHEWALL, Inc., and other organizations,
corporations, entities, and persons.

2. The hundreds of thousands of dollars were deposited into a personal
bank account BRIAN G. KOLFAGE maintained at Pentagon Federal Credit

Union.
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3. Oftentimes, the deposits were obscured by passing through multiple
organizations, corporations, entities, and persons before being deposited into the
personal bank account BRIAN G. KOLFAGE maintained.

4. BRIAN G. KOLFAGE did not report the hundreds of thousands of
dollars on his United States Individual Income Tax Return, Form 1040, for the tax
year 2019,

5. BRIAN G. KOLFAGE transmitted his false and fraudulent United
States Individual Income Tax Return, Form 1040, for the tax year 2019, via the
Internet.

C. WIRE COMMUNICATION

On or about July 15, 2020, for the purpose of executing the scheme to

defraud, the defendant,

BRIAN G. KOLFAGE,
knowingly did cause a wire communication, namely a United States Individual
Income Tax Return, Form 1040, for the tax year 2019, to be transmitted in

interstate commerce.
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In violation of Title 18, United States Code, Sections 1343 and 2.

A TRUE BILL:

    

 

 

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eo / 4 / a )
“JASON R. COODY.” /

Acting United States Attorndy

SAW L. SSLDBER
Assistant United States\‘Attorney

SS f , pA
LAZARO P. FIELDS —
Assistant UnitedStates Attorney

 
